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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION                                I6UEC-8 PM 1:20
GENEVIE ILENE MALEY AND                          §                             CLERKU.S.   DSTCV    COURT
                                                                               WESTER4 DSTRC1 OF TEXAS
HOLLY DROWLEY,                                   §
              PLAINTIFFS,                                                        BY
                                                 §                                         OEFUt" CIERK
                                                 §
V.                                               §
                                                       CAUSE NO. 1:1 5-CV-00394-LY
                                                 §
MINNESOTA LIFE INSURANCE                         §
COMPANY,                                         §
               DEFENDANT.                         §



                    ORDER ON REPORT AND RECOMMENDATION
                    OF THE UNITED STATES MAGISTRATE JUDGE

       Before the court in the above-styled and numbered cause of action are Defendant's

Motion for Attorney's Fees (Clerk's Doc. No. 29) and Plaintiffs' Objection to Defendant's

Motion for Attorney's Fees (Clerk's Doc. No. 32). The motion was referred to the United States

Magistrate Judge pursuant to 28 U.S.C.   §   636(b), Federal Rule of Civil Procedure 72, and Rule   1



of Appendix C of the Local Rules of the United States District Court for the Western District of

Texas, as amended. The magistrate judge filed a Report and Recommendation on November 10,

2016 (Clerk's Doc. No. 35), recommending the court deny the motion.

       Under Title 28 of the United States Code, Section 63 6(b) and Rule 72(b) of the Federal

Rules of Civil Procedure, a party may serve and file specific, written objections to the proposed

findings and recommendations of the magistrate judge within 14 days after being served with a

copy of the report and recommendation, and thereby secure a         de novo   review by the district

court. A party's failure to timely file written objections to the proposed findings, conclusions,

and recommendation in a report and recommendation bars that party, except upon grounds of

plain error, from attacking on appeal the unobjected-to proposed factual findings and legal
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conclusions accepted by the district court. See Douglass    v.   United Services Auto Ass 'n, 79 F.3d

1415 (5th Cir. 1996) (en banc).

         The parties were properly notified of the consequences of a failure to file objections. The

record reflects that the parties received the amended report and recommendation by November

10, 2016, making objections due by November 24, 2016. To date, no party has filed objections

to the findings of fact and conclusions of law in the report. The court, having reviewed the entire

record and finding no plain error, accepts and adopts the report and recommendation filed in this

cause for substantially the reasons stated therein.

         IT IS THEREFORE ORDERED that the Report and Recommendation of the United

States Magistrate Judge (Clerk's Doc. No. 35) is hereby ACCEPTED and ADOPTED by the

court.

         IT IS FURTHER ORDERED that Defendant's Motion for Attorney's Fees (Clerk's

Doc. No. 29) is DENIED.

         SIGNED this            day of December, 2016.




                                              UN      ED STATE




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